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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

TRUSTEES OF THE CHICAGO REGIONAL                       )
COUNCIL OF CARPENTERS PENSION FUND,                    )
TRUSTEES OF THE CHICAGO REGIONAL                       )
COUNCIL OF CARPENTERS WELFARE FUND,                    )
TRUSTEES OF THE CHICAGO REGIONAL                       )
COUNCIL OF CARPENTERS SUPPLEMENTAL                     )
RETIREMENT FUND, and TRUSTEES OF THE                   )
CHICAGO REGIONAL COUNCIL OF CARPENTERS                 )
APPRENTICE TRAINING FUND,                              )
                                                       )      CIVIL ACTION
                      Plaintiffs,                      )
              v.                                       )
                                                       )
ALCA, INC.,                                            )
                                                       )
                      Defendant.                       )

                                     COMPLAINT

       Plaintiffs, TRUSTEES of the CHICAGO REGIONAL COUNCIL OF CARPENTERS
PENSION FUND, et al., by their attorney, David Whitfield, complain of the Defendant,
Alca, Inc., as follows:

       1.     This action arises under Section 502 of the Employee Retirement Income
Security Act ("ERISA")(29 U.S.C. §§1132, 1145) and Section 301(a) of the Labor
Management Relations Act of 1947 ("LMRA"), as amended 29 U.S.C. § 185(a).
Jurisdiction is founded on the existence of questions arising there under.

       2.     The CHICAGO REGIONAL COUNCIL OF CARPENTERS PENSION
FUND, the CHICAGO REGIONAL COUNCIL OF CARPENTERS WELFARE FUND, the
CHICAGO REGIONAL COUNCIL OF CARPENTERS SUPPLEMENTAL RETIREMENT
FUND, and the CHICAGO REGIONAL COUNCIL OF CARPENTERS APPRENTICE
TRAINING FUND ("Trust Funds") receive contributions from numerous employers
pursuant to Collective Bargaining Agreements between the employers and the
CHICAGO REGIONAL COUNCIL OF CARPENTERS, successor of the CHICAGO &

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NORTHEAST ILLINOIS DISTRICT COUNCIL OF CARPENTERS, ("Union"), and
therefore, are multiemployer plans. (29 U.S.C. §1002). The Trust Funds are
administered at 12 East Erie Street, Chicago, Illinois and venue is proper in the
Northern District of Illinois.

       3.     The Defendant is an employer engaged in an industry affecting commerce
which entered into Agreements which require Defendant to pay fringe benefit
contributions to the Trust Funds.

       4.     Delinquent employers are required to pay, in addition to the amounts
determined to be due, liquidated damages, interest, reasonable attorney fees, court
costs, audit fees, and other reasonable costs incurred in the collection process.

       5.     The Defendant must submit monthly reports listing the hours worked by
its carpenter employees ("contribution reports") and to make concurrent payment of
contributions to the Trust Funds based upon the hours worked by its carpenter
employees.

       6.     The Defendant breached the provisions of the Collective Bargaining
Agreement and the Trust Agreements by failing to submit dues withheld from the
employees’ paychecks in the amount of $2,179.81 for the months of December 2017
through February 2018.

       7.     The Defendant breached the provisions of the Collective Bargaining
Agreement and the Trust Agreements by failing to submit fringe benefit payments of
$70,153.99 for the months of November 2017 through February 2018; as well as failing
to submit liquidated damages on for the months of November 2017 through February
2018 as well as on previously untimely paid contributions.

       8.     Plaintiffs have complied with all conditions precedent in bringing this suit.

       9.     Plaintiffs have been required to employ the undersigned attorneys to
collect the monies that may be found to be due and owing from Defendant.

       10.    Defendant is obligated to pay the attorney fees and court costs incurred by
the Plaintiffs pursuant to 29 U.S.C. §1132(g)(2)(D).

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       11.    Pursuant to 29 U.S.C. §1132(g)(2)(B), the Plaintiffs are entitled to interest
on any monies that may be found to be due and owing from the Defendant.

       12.    Pursuant to 29 U.S.C. §1132(g)(2)(C), Plaintiffs are entitled to an amount
equal to the greater of:

              a)     double interest on the unpaid contributions; or

              b)     interest plus liquidated damages provided for under the
                     Trust Agreements not in excess of 20% of amount that is
                     due.
       13.    Pursuant to the Trust Agreements, Plaintiffs are entitled to liquidated
damages at the rate of 1.5% compounded monthly.

WHEREFORE, Plaintiffs pray:
       a)     That the Defendant be ordered to paid $70,153.99 in fringe benefits for the
              months of November 2017 through February 2018.
       b)     That the Defendant be ordered to paid $2,179.81 in dues for the months of
              December 2017 through February 2018.
       c)     That the Defendant be ordered to pay liquidated damages pursuant to the
              Trust Agreements.
       d)     That the Defendant be ordered to pay interest on the amount that is due
              pursuant to 29 U.S.C. §1132 (g)(2)(B).
       e)     That the Defendant be ordered to pay interest or liquidated damages on
              the amount that is due pursuant to 29 U.S.C. §1132 (g)(2)(C).
       f)     That the Defendant be ordered to pay the reasonable attorney's fees and
              costs incurred by the Plaintiffs pursuant to the Trust Agreements and 29
              U.S.C. §1132 (g)(2)(D).
       g)     That Plaintiffs have such other and further relief as by the Court may be
              deemed just and equitable all at the Defendant's costs pursuant to 29
              U.S.C. §1132(g)(2)(E).

                                   By: /s/ David Whitfield
                                      Attorney for Plaintiffs
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